Case 2:24-cv-11189-SDW-JRA                 Document 1             Filed 12/16/24   Page 1 of 4 PageID: 1




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      The Travelers Indemnity Company of Connecticut

                                         UNITED STATES DISTRICT COURT
                                            DISTRICT OF NEW JERSEY

      -------------------------------------------------------
      RAYMOND’S RESTAURANT                                    :
      CORPORATION d/b/a RAYMOND’S                             :       NOTICE OF REMOVAL
      (MONTCLAIR) and RAYMOND’S                               :
      RIDGEWOOD, LLC,                                         :       Civil Action No.: 24-cv-11189
                                                              :
                                  Plaintiffs,                 :
                                                              :
               v.                                             :
                                                              :
      THE TRAVELERS INDEMNITY                                 :
      COMPANY OF CONNECTICUT                                  :
      and ACE PROPERTY AND CASUALTY :
      INSURANCE COMPANY,                                      :
                                                              :
                                  Defendants.                 :
      -------------------------------------------------------

                          TO THE HONORABLE JUDGES OF THE UNITED STATES
                          DISTRICT COURT FOR THE DISTRICT OF NEW JERSEY:

               Defendant THE TRAVELERS INDEMNITY COMPANY OF CONNECTICUT

      (“Travelers”), by its undersigned attorneys, petitions for the removal of the above-

      captioned case as follows:

               1.       This Notice of Removal is filed pursuant to 28 U.S.C. § 1441, et seq., to

      remove this action, commenced in the Superior Court of New Jersey, Essex County,

      Docket No.: ESX-L-7974-24 (“the State Court Action”). Removal is effected upon the




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Case 2:24-cv-11189-SDW-JRA             Document 1         Filed 12/16/24       Page 2 of 4 PageID: 2




      diversity of the parties and because the amount in controversy exceeds $75,000.00,

      pursuant to 28 U.S.C. § 1332(a)(1).

             2.       On or about November 14, 2024, the plaintiffs, Raymond’s Restaurant

      Corporation d/b/a Raymond’s (Montclair) (“Raymond’s Montclair”) and Raymond’s

      Ridgewood, LLC (“Raymond’s Ridgewood”), commenced this action by filing a Complaint

      in the Superior Court of New Jersey, Essex County (Exhibit 1).

             3.       The Complaint contains two causes of action alleging two breaches by

      Travelers of an insurance policy provided to Raymond’s Montclair and a third cause of

      action against Travelers alleging “insurer bad faith”.

             4.       The Complaint asserts similar claims against co-defendant Ace Property

      and Casualty Insurance Company (“Ace”), which is alleged to have insured Raymond’s

      Ridgewood.

             5.       Travelers was served with the Summons and Complaint by service upon the

      New Jersey Commissioner of Banking and Insurance on November 18, 2024 (Exhibit 2).

             6.       Ace also was served with the Summons and Complaint by service upon the

      New Jersey Commissioner of Banking and Insurance on November 18, 2024 (Exhibit 3).

             7.       As alleged in the Complaint, the amount in controversy exceeds $75,000.00,

      exclusive of interest and costs.

             8.       To the best of counsel’s knowledge, no other papers have been filed and no

      further proceedings have occurred in the State Court Action.

             9.       This Notice of Removal is filed within the time provided by 28 U.S.C. §

      1446(b) and is the first application to remove the State Court Action.




                                                          2

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Case 2:24-cv-11189-SDW-JRA             Document 1         Filed 12/16/24       Page 3 of 4 PageID: 3




             10.      The State Court Action is a suit of a wholly civil nature over which the United

      States District Court for the District of New Jersey has original jurisdiction by virtue of 28

      U.S.C. § 1332 (diversity of citizenship), and is one that may be removed to this Court

      pursuant to 28 U.S.C. § 1441.

             11.      As set forth in the Complaint, the plaintiffs are both corporations organized

      and existing pursuant to the laws of the State of New Jersey, with their principal place of

      business in Montclair, New Jersey.

             12.      Travelers is a corporation organized and existing pursuant to the laws of the

      State of Connecticut, with its principal place of business in Hartford, Connecticut.

             13.      Ace is a corporation organized and existing pursuant to the laws of the

      Commonwealth of Pennsylvania, with its principal place of business in Philadelphia,

      Pennsylvania.

             14.      As the amount in controversy exceeds $75,000 (exclusive of interest and

      costs), and there is complete diversity of citizenship, the requirements of 28 U.S.C. §

      1332(a) are satisfied.

             15.      Ace has consented to the removal of this action to this Court (see Exhibit 2).

             16.      Written notice of the filing of this Notice of Removal will be given to

      Plaintiffs and filed with the Clerk of the Superior Court, Essex County, as required by 28

      U.S.C. § 1446(d).




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Case 2:24-cv-11189-SDW-JRA             Document 1         Filed 12/16/24       Page 4 of 4 PageID: 4




             WHEREFORE, Travelers respectfully requests that this action be removed from

      the Superior Court of New Jersey, Essex County, to the United States District Court for

      the District of New Jersey.

                                                        Respectfully submitted,

                                                        CHIESA SHAHINIAN & GIANTOMASI PC
                                                        Attorneys for Defendant
                                                        The Travelers Indemnity Company of Connecticut


                                                        By:       /s Adam P. Friedman
                                                                   Adam P. Friedman

      Dated: December 16, 2024




                                                          4

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